Case 1: 05- -c\/- 01138- .]DT- STA Document 4 Filed 07/21/05 Page 1 of 3 Poqe|§§®

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IN THE UNITED STATES DISTRICT COURT :<5"¢ 615 é/ a 0
FOR THE WESTERN DISTRICT OF TENNESSEE’@ 6,‘/”’/“ 665 6_’./ 'Q
EASTERN DIVISION z’///"3563 n55635/: <@ <3
'%- ,~
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
)
VS. ) Civ. No. 05-1138-T/An
) Crim. No. 03-]0074-T
)
RICKEY DEAN MCALISTER, )
)
Def`endant. )

 

ORDER DENYING MOTION FOR EVIDENTIARY HEARING
AND/OR RULING

 

Defendant Rickey Dean McAlister, Bureau of Prisons inmate registration number
19225-076, an inmate at the F ederal Medical Center in Lexington, Kentucky, filed a pro Se
motion pursuant to 28 U.S.C. § 2255 on l\/[ay 13, 2005. On July 20, 2005, he filed a motion
requesting an evidentiary hearing and/or a ruling.

Pursuant to Rule 4(b) of the Rules Governing § 2255 Cases, the Court must conduct
an initial examination of the defendant’s motion in order to determine Whether it should be
dismissed, or Whether the United States should be ordered to file a response. Plaintiffwill
be notified When that initial examination is complete. If a response is required from the
United States, the Court Will then consider plaintiff’s motion, the response and the record

This document entered on the docket sheet ln compliance

with Rule 58 and,'or_?Q (a) FRCP on l )’i 433 ~§ § A

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below to determine Whether an evidentiary hearing is necessary.
The motion for an evidentiary hearing and/or ruling is DENIED.

IT IS SO ORDERED.

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DATE /

 

 

UNITSTED`ATES DsrTRrCT C URT - WESTNER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 4 in
case 1:05-CV-01138 Was distributed by f`aX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Rickey Dean McAlister
Federal Medical Center
19225-076

P.O. Box 14500
LeXington, KY 40512

USA

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Honorable .l ames Todd
US DISTRICT COURT

